Case 2:20-cv-11181-CAS-JPR Document 66-8 Filed 11/01/21 Page 1 of 3 Page ID #:1273




    1 RIMON, P.C.
      Mark Lee (SBN 94103)
    2 mark.lee@rimonlaw.com
      2029 Century Park East, Suite 400N
    3 Los Angeles, California 90067
      Telephone/Facsimile: 213.375.3811
    4
      RIMON, P.C.
    5 Zheng Liu (SBN: 229311)
      zheng.liu@rimonlaw.com
    6 800 Oak Grove Avenue, Suite 250
      Menlo Park, California 94025
    7 Telephone/Facsimile: 650.461.4433
    8 Attorneys for Defendants
      INTERFOCUS INC. d.b.a. www.patpat.com
    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                          DECLARATION OF GONGWEI
                   Plaintiff,                  XIAO IN FURTHER SUPPORT OF
   15                                          DEFENDANT INTERFOCUS, INC.
            v.                                 D.B.A. WWW.PATPAT.COM’S:
   16
      INTERFOCUS, INC. d.b.a.                   1) MOTION FOR SUMMARY
   17 www.patpat.com, a Delaware                   JUDGMENT AND PARTIAL
      Corporation; CAN WANG, and                   SUMMARY JUDGMENT ON
   18 individual, and DOES 1-10, inclusive.,       PLAINTIFF’S COMPLAINT
                                                   AND DEFENDANT’S
   19              Defendants.                     COUNTERCLAIM; AND
   20                                           2) OPPOSITION TO PLAINTIFF’S
      INTERFOCUS, INC. d.b.a.                      MOTION FOR SUMMARY
   21 www.patpat.com, a Delaware                   JUDGMENT
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,     Date:      December 6, 2021
                                                Time:      10:00 am
   23              Counterclaim Plaintiffs,
                                                Courtroom: Courtroom 8D
   24        v.
                                               The Hon. Christina A. Snyder
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
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                                 DECLARATION OF GONGWEI XIAO
Case 2:20-cv-11181-CAS-JPR Document 66-8 Filed 11/01/21 Page 2 of 3 Page ID #:1274




    1                          DECLARATION OF GONGWEI XIAO
    2         I, Gongwei Xiao, declare:
    3         1.       I am the manager for Guangzhou Xinqi Yijian Garment Co. Ltd.
    4 (“Xinqi”), a supplier to Interfocus Inc. (“Interfocus”). I have personal knowledge of
    5 the following facts except where otherwise indicated, and if called upon as a
    6 witness, I could and would competently testify thereto.
    7         2.       Xinqi supplied these two garments to Interfocus (see below).
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   10
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              3.       Xinqi sourced the fabric to make this garment from HengZhou Fabric
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        Company in Hengzhou, Guangxi, China. Hengzhou informed me it acquired the
   14
        fabrics from the largest open fabric market in Guangzhou, Guangdong, China.
   15
              4.       In addition, this fabric and very similar fabrics are available on the
   16
        internet. I have seen multiple offerings of garments in such fabrics on Aliexpress in
   17
        the past two years. Please see Exhibits A & B attached, which are also shown at the
   18
        links below.
   19
              https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.
   20         9.b4295098SJ0UVa
   21
              https://fr.aliexpress.com/item/33028418342.html?spm=a2g0o.detail.1000060.
   22         3.7ad724b3Eu95sU&gps-
              id=pcDetailBottomMoreThisSeller&scm=1007.13339.169870.0&scm_id=10
   23
              07.13339.169870.0&scm-url=1007.13339.169870.0&pvid=86e01a6d-c056-
   24         4e57-9172-cd2c5e2ab7e9&_t=gps-id:pcDetailBottomMoreThisSeller,scm-
              url:1007.13339.169870.0,pvid:86e01a6d-c056-4e57-9172-
   25
              cd2c5e2ab7e9,tpp_buckets:668%232846%238115%232000&&pdp_ext_f=%
   26         7B%22sceneId%22:%223339%22,%22sku_id%22:%2267206599644%22%7
              D
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                                      DECLARATION OF GONGWEI XIAO
Case 2:20-cv-11181-CAS-JPR Document 66-8 Filed 11/01/21 Page 3 of 3 Page ID #:1275
